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MINUTE ENTRY
FALLON, J.
MARCH 30, 2023



                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF LOUISIANA


   BROWN, ET AL                                                                  CIVIL ACTION

   VERSUS                                                                        NO. 22-847

   BURMASTER, ET AL                                                              SECTION "L" (4)


        A telephone status conference was held on this date in the Chambers of the Honorable

Eldon E. Fallon. William Brock Most and Tarak Anada participated on behalf of Plaintiffs Derek

Brown and Julia Barecki Brown. Chester Theodore Alpaugh, III participated on behalf of

Defendant Derrick Burmaster. James Roquemore participated on behalf of Shaun Ferguson and the

City of New Orleans.

        The Court discussed with the parties the notice of appeal filed by Defendant Derrick

Burmaster following the denial of his Motion for Summary Judgment. The Court heard arguments

by Defendants in support of Burmaster's request for a stay and objections by Plaintiffs to this stay.

For the reasons stated on the record,

        IT IS ORDERED that the trial in this matter be STAYED pending the ruling from the

Fifth Circuit Court of Appeals, and that the trial set for April 5, 2023 be CONTINUED.

        IT IS FURTHER ORDERED that the following motions be DENIED AS MOOT: R.

Doc 94, R. Doc. 102, R. Doc. 109, R. Doc. 121, R. Doc. 123, R. Doc. 125, R. Doc 128. This denial

is without prejudice, and the parties reserve the right to re-file these motions when a new trial date

in this matter is set.


       JS10 (00:18)
